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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     )
 UNITED STATES OF AMERICA                            )
                                                     )
 v.                                                  )
                                                     ) Case No. 20-cr-10111-RWZ
 CHARLES LIEBER,                                     )
                                                     )
          Defendant.                                 )
                                                     )

            DEFENDANT’S ASSENTED-TO MOTION FOR LEAVE
TO FILE UNDER SEAL: EXHIBITS TO DEFENDANT’S MEMORANDUM OF LAW IN
    SUPPORT OF HIS MOTION TO SUPPRESS POST-ARREST STATEMENTS

         Pursuant to Local Rules 7.1(b)(3) and 83.6.11(b), counsel for Defendant Charles Lieber

respectfully requests leave of the Court to file under seal exhibits to the Defendant’s Memorandum

Of Law In Support Of His Motion To Suppress Post-Arrest Statements (the “Memorandum Of

Law”).

         In support of this request, the Memorandum Of Law details events taking place on the date

of his arrest and the interrogation performed by the FBI. The Memorandum of Law includes as

exhibits an Arrest Report (Exhibit 1) and a video recording of the FBI Agents’ interrogation of

Professor Lieber (Exhibit 2).      Exhibits 1 and 2 are Discovery Materials produced by the

government to the defense team as defined by the Protective Order in this matter (see ECF No. 58)

         In accordance with the Local Rules and with the government’s assent, Defendant requests

leave of the Court to file the exhibits to the Memorandum of Law under seal.
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Dated: July 12, 2021                                Respectfully submitted,

                                                    CHARLES LIEBER

                                                    By his attorneys,

                                                      /s/ Torrey K. Young
                                                    Torrey K. Young (BBO #682550)
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

        Counsel for the government assents to this Motion. I hereby certify that this document
will be sent by electronic mail to counsel for the government on July 12, 2021.

                                                     /s/ Torrey K. Young
                                                    Torrey K. Young
